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                            UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA



American Federation of Labor and Congress of Industrial
Organizations, et al.
                         Plaintiffs
                                                              vs.                        Case No.: 1:25-cv-00339-JDB
Department of Labor, et al.
                         Defendants



                                         AFFIDAVIT OF SERVICE BY FEDERAL EXPRESS

I, Carrie Hollingshed, a Private Process Server, being duly sworn, depose and say, I have been duly authorized to make service of the
documents listed herein in the above entitled case, I am over the age of eighteen years and am not a party to or otherwise interested in
this matter.

DOCUMENT(S): Summons, Civil Cover Sheet, Plaintiffs' First Amended Complaint for Declaratory and Injunctive Relief, and Plaintiff's
Motion for a Renewed Temporary Restraining Order

SERVE TO: Russell Vought, in his official capacity as Acting Director, Consumer Financial Protection Bureau

SERVICE ADDRESS: 1700 G Street, NW, Washington, DC 20552

METHOD OF SERVICE: Service was completed by sending a copy of the documents listed herein to Russell Vought, in his official capacity
as Acting Director, Consumer Financial Protection Bureau, 1700 G Street, NW, Washington, DC 20552 on 02/13/2025 via Federal Express
Priority Overnight, Signature Required Upon Receipt. Tracking Number: 772067173740.

I solemnly affirm under the penalties of perjury that the contents of this document are true to the best of my knowledge, information,
and belief.

Executed on 02/14/2025




                                                                                                                           Carrie Hollingshed


                                                                                                              Client Ref Number: AFL-CIO v. DOL
                                                                                                                                Job #:12705813




                     Capitol Process Services, Inc. | 1827 18th Street, NW, Washington, DC 20009 | (202) 667-0050
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